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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF LOUISIANA
                         LAKE CHARLES DIVISION

ALEX HOWARD d/b/a                          :   CIVIL ACTION NO. 2:21-cv-03181
SERVICEMASTER BY HOWARD
                                           :
VERSUS                                         JUDGE:
                                           :
FIRST UNITED PENTECOSTAL
CHURCH OF DERIDDER, LA and          : MAGISTRATE JUDGE:
CHURCH MUTUAL INSURANCE
COMPANY
************************************************************************
                       COMPLAINT FOR DAMAGES

      NOW INTO COURT, through undersigned counsel, comes plaintiff, Alex Howard

d/b/a ServiceMaster by Howard (“ServiceMaster-Howard”), who files this Complaint for

Damages against the First United Pentecostal Church of DeRidder, LA (“First United”)

and Church Mutual Insurance Company (“CMIC”), as follows:

                                    I. PARTIES

                                          1.

      ServiceMaster-Howard brings this Complaint for Damages against the following:

      A.    Defendant First United Pentecostal Church of DeRidder, LA, a Louisiana
            non-profit religious corporation, domiciled and doing business in Beauregard
            Parish, Louisiana; and

      B.    Defendant Church Mutual Insurance Company, a foreign insurance
            corporation authorized to do and doing business in the State of Louisiana
            than can be served through the Louisiana Secretary of State.




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                                            2.

       Plaintiff ServiceMaster-Howard is a sole proprietorship and a resident and

domiciliary of the State of Alabama.

                            II. JURISDICTION AND VENUE

                                            3.

       This Court has subject matter jurisdiction over the claims asserted in this Complaint

based on diversity of citizenship pursuant to 28 USC § 1332. Venue is proper under 28

U.S.C.A. § 1391 as a substantial part of the events or omissions giving rise to the claims

occurred in this judicial district.

                                            4.

       Complete diversity exists between the parties.

                                            5.

       The amount in controversy exceeds $75,000.00.

                                       III. FACTS

                                            6.

       On or about August 27, 2020, Hurricane Laura caused substantial damage to the

area near and around southwest Louisiana, including DeRidder, Louisiana. First United,

comprised of two buildings totaling almost 32,000 square feet, located at 120 Mahlon

Street, DeRidder, Louisiana 70634 (the “Property”), suffered extensive damage from the

hurricane.




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                                             7.

       At the time of the damage, a policy issued by CMIC provided insurance coverage

for damage to First United’s Property. Upon information and belief, First United made a

claim for the damage sustained to the Property by Hurricane Laura with CMIC, which

assigned claim number 1423132 to First United’s claim.

                                             8.

       ServiceMaster-Howard was contacted regarding First United’s desperate need for a

water mitigation and restoration contractor. First United advised ServiceMaster-Howard

that it had been unable to locate or retain a restoration contractor to perform the necessary

remediation work at the Property.

                                             9.

       On August 31, 2020, First United entered into a contract, entitled an Authorization

for Repairs and Payment, with ServiceMaster-Howard for emergency cleaning, water

mitigation and restoration services (the “Contract”). Sarah Lewis, executive pastor of First

United, signed the Contract with ServiceMaster-Howard on behalf of First United.

                                            10.

       The Contract between ServiceMaster-Howard and First United, executed on August

31, 2020, states:

       Owner [First United] agrees that if any invoice for services shall not be paid
       when due, the balance shall bear interest of 12% annum. The makers,
       endorsers, guarantors, or sureties hereby jointly and severally agree to pay
       all costs of collection including reasonable attorneys’ fees. Unless otherwise
       prohibited by state law, if any unpaid balance is referred to an attorney for
       collection, Owner authorizes any attorney of record to confess judgment to
       be entered by any Court that may have jurisdiction, at any time after the

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       default in payment shall occur and hereby waives all exceptions to the extent
       permitted by law.

       Owner further understands that emergency services are necessary steps taken
       to prevent additional damage to the building and/or contents and that
       restoration services may include cleaning, drying, repair, resurfacing,
       refinishing and/or replacement of building materials and contents.

                                            11.

       The parties agreed that ServiceMaster-Howard would perform the work, and after

the work was completed, it would submit an invoice for all work and services performed

for payment. In accordance with industry standards, ServiceMaster-Howard utilized an

Xactimate pricelist to prepare its invoice for the work.

                                            12.

       First United’s insurance company, CMIC, was aware of and approved all work

performed at the Property for the duration of the project. Both First United and CMIC

approved the work on an ongoing basis throughout the project.

                                            13.

       In accordance with the terms of the Contract, ServiceMaster-Howard began the

cleaning and restoration work at the Property on August 31, 2020, the same day the

Contract was signed, arriving on site at approximately 11:30 AM.

                                            14.

       To complete the mitigation and restoration work, on an emergency basis,

ServiceMaster-Howard immediately invested substantial resources into the project,

including drying equipment. This substantial effort was required to quickly mitigate the

water damage to First United and satisfy First United’s desire to save the Property. This

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drying equipment was utilized for a total period of nine days, concluding on September 9,

2020.

                                            15.

        By September 9, 2020, ServiceMaster-Howard confirmed that the dry-out process

of the Property had been completed.

                                            16.

        In performing the restoration services at the Property, ServiceMaster-Howard

followed the Institute of Inspection Cleaning and Restoration Certification (IICRC) S500,

the manual that sets the applicable standards and protocols for water mitigation and

restoration work.

                                            17.

        Upon completion of the work by ServiceMaster-Howard, Sarah Lewis, on behalf of

First United, executed a Certificate of Completion and Satisfaction with Emergency

Services (the “Certificate”). That Certificate stated: “The undersigned hereby certifies that

the emergency services provided by the Contractor at the Work Site have been completed

to the Insured’s Satisfaction.”

                                            18.

        Consistent with the work performed and services provided to First United,

ServiceMaster-Howard prepared an estimate/invoice using Xactimate.            That estimate

totaled $269,260.62 and was submitted to First United and CMIC for payment.




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                                           19.

      On October 13, 2020, First United remitted partial payment toward the outstanding

invoice, in the total amount of $50,000.00. That payment was made by five separate

checks, all issued on October 13, 2020, each in the amount of $10,000.00. Those checks

bore Check Nos. 1058, 1059, 1060, 1061, and 1063. These payments left a remaining

balance owed of $219,260.62.

                                           20.

      Upon information and belief, CMIC reimbursed First United for this partial

payment.

                                           21.

      However, no further payments have been made to ServiceMaster-Howard toward

the remaining balance owed, despite multiple requests for payment. Currently, First United

and CMIC owe a total of $219,260.62, plus interest and attorneys’ fees (as recoverable

according to the Contract).

                                           22.

      Neither First United nor CMIC has paid the balance owed for the invoice submitted

by ServiceMaster-Howard, despite amicable demand. ServiceMaster-Howard was forced

to personally fund the entire work, causing financial hardship and lost business

opportunities. Now, almost twelve months after ServiceMaster-Howard completed the

Project, it has not been paid the remaining amount owed for its substantial work.


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                         COUNT I – BREACH OF CONTRACT

       The allegations in Paragraphs 1-22 are incorporated herein, in extenso.

                                              23.

       ServiceMaster-Howard and First United entered into a valid contract for the

cleaning and restoration work performed on the Property.

                                              24.

       ServiceMaster-Howard performed its work in accordance with industry standards,

and in accordance with the parties’ Contract. ServiceMaster-Howard performed all

cleaning and restoration work in a timely manner. Both First United and CMIC were kept

advised of, and approved (both expressly and implicitly), all work performed by

ServiceMaster-Howard. By the end of the work on the Property, ServiceMaster-Howard

had successfully saved the church, as requested. But, after the work was completed, only

$50,000.00 of the $269,260.62 was paid by First United. Both First United and CMIC

refused to pay any of the outstanding balance due, in the amount of $219,260.62, in

accordance with the parties’ Contract.

                                              25.

       The Contract between the parties expressly provides that if any invoice for services

is not paid when due, the balance shall bear interest of 12%, and First United will be liable

for all costs of collection, including attorneys’ fees.

                                              26.

       Accordingly, First United is liable to ServiceMaster-Howard for $219,260.62, the

remaining balance owed under the Contract, plus interest at 12%, costs, attorneys’ fees and

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all other damages arising from First United’s failure to pay, as provided for in La. R.S.

9:2781, the parties’ Contract and/or other provisions of the law.

                                             27.

       In addition, First United is liable to ServiceMaster-Howard for additional business

losses incurred as a result of First United’s failure to pay pursuant to the parties’ Contract,

including lost business opportunities, damages incurred for not having the monies paid by

First United, and other consequential damages.

                              COUNT II — NEGLIGENCE

       The allegations in Paragraphs 1-27 are incorporated herein, in extenso.

                                             28.

       In contracting with ServiceMaster-Howard to perform restoration and cleaning

services on its Property, First United, by and through its employees and representatives,

had a duty to conduct business with ServiceMaster-Howard in good faith.

                                             29.

       First United expressly authorized ServiceMaster-Howard to perform work on the

Property, and First United had a duty to pay for those services. First United further made

repeated, express representations that ServiceMaster-Howard would be paid for its work

on the Property, and therefore had a duty to pay for those services.

                                             30.

       First United breached that duty by allowing ServiceMaster-Howard to perform over

$260,000 worth of work on the Property, without ever intending to pay for such work and

services, even after certifying that it was satisfactorily completed.

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                                           31.

      ServiceMaster-Howard is entitled to all damages arising out of First United’s breach

and its negligence, including the cost of the work and business losses incurred by

ServiceMaster-Howard arising from First United’s failure to pay for the work or

appropriately make claims for payment for the work with CMIC.

                                           32.

      Further, CMIC is responsible for the damages incurred by ServiceMaster-Howard

based on its representation that ServiceMaster-Howard would be paid for the work. While

the work was ongoing, CMIC and its authorized representatives approved the continuation

of work on the Property by ServiceMaster-Howard.

                                           33.

      Then, CMIC refused to approve or make payments pursuant to the terms of First

United’s insurance policy. The breach of this duty resulted in damages incurred by

ServiceMaster-Howard, for which CMIC is responsible.

                    COUNT III – DETRIMENTAL RELIANCE

      The allegations in Paragraphs 1-33 are incorporated herein, in extenso.

                                           34.

      At all times pertinent, First United, its representatives, and its insurer, CMIC, made

express and implied representations that ServiceMaster-Howard had authority to perform

work on the Property, and that ServiceMaster-Howard would be paid for such services.

ServiceMaster-Howard was justified in relying on the representations made by First United

representatives and CMIC and its representatives.

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                                            35.

       ServiceMaster-Howard performed over $260,000 worth of work (over a 9-day time

period) to its detriment on the justified reliance of First United, its representatives, and

CMIC and its representatives, actions and assertions that it would be paid for that work.

                                            36.

       Thus, ServiceMaster-Howard is entitled to recover damages incurred based upon its

reliance on express and implied representations and statements by First United, its

representatives, CMIC, and its representatives.

                         COUNT IV – UNJUST ENRICHMENT

       The allegations in Paragraphs 1-36 are incorporated herein, in extenso.

                                            37.

       In the alternative, First United and CMIC have been unjustly enriched by

ServiceMaster-Howard’s performance of its work. After the hurricane caused extensive

damage to the Property, ServiceMaster-Howard performed substantial, emergency

cleaning, mitigation and restoration work required to restore the property to its pre-loss

condition. As such, ServiceMaster-Howard is entitled to recover just compensation of First

United’s enrichment, or ServiceMaster-Howard’s loss, under theories of unjust enrichment

and/or quantum meruit.

                                            38.

       Further, CMIC has been enriched by not having to pay the amount it owes according

to the terms of First United’s insurance policy.



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                                            39.

       ServiceMaster-Howard reserves the right to amend and/or supplement its Complaint

after further discovery.

                            DEMAND FOR JURY TRIAL

       ServiceMaster-Howard prays for and is entitled to a trial by jury.

       WHEREFORE, premises considered, ServiceMaster-Howard prays that its

Complaint for Damages be deemed good and sufficient, and that after due proceedings be

had, the Court enter judgment in favor of ServiceMaster-Howard against First United and

CMIC for the damages outlined in the Complaint, to include the amount owed for the work

completed, other breach of contract damages and consequential damages, together with

interest, costs, attorneys’ fees and other damages found reasonable in the premises;

       AND FOR ALL GENERAL AND EQUITABLE RELIEF.

                                                  RESPECTFULLY SUBMITTED,

                                                  BY: /s/ Christopher K. Jones
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